207 F.2d 780
    LOCAL UNION NO. 292, INTERNATIONAL BROTHERHOOD OF ELECTRICALWORKERS, Appellant,v.UNITED STATES of America.
    No. 14842.
    United States Court of AppealsEighth Circuit.
    Oct. 7, 1953.
    
      Nichols, Mullin, Farnand &amp; Lee, Minneapolis, Minn., for appellant.
      Edward P. Hodges, Acting Asst. Atty. Gen., Washington, D.C., and George E. MacKinnon, U.S. Atty., Minneapolis, Minn., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellant.
    
    